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                         EXHIBIT P
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                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OKLAHOMA


 1) VIDEO GAMING TECHNOLOGIES, INC.,                      )
                                                          )
                                                          )
                   Plaintiff,                             )
                                                          )
 v.                                                       )   Case No. 4:17-cv-00454-GKF-mjx
                                                          )
 1) CASTLE HILL STUDIOS LLC                               )
    (d/b/a CASTLE HILL GAMING);                           )
 2) CASTLE HILL HOLDING LLC                               )
    (d/b/a CASTLE HILL GAMING); and                       )
 3) IRONWORKS DEVELOPMENT, LLC                            )
    (d/b/a CASTLE HILL GAMING)                            )
                                                          )
                   Defendants.                            )

       VIDEO GAMING TECHNOLOGIES, INC.’S RULE 26(A)(1) INITIAL DISCLOSURES

             Pursuant to Federal Rule of Civil Procedure 26(a)(1), Plaintiff Video Gaming

      Technologies, Inc. (“VGT”) submits the following Initial Disclosures to Defendants Castle Hill

      Studios LLC, Castle Hill Holding LLC, and Ironworks Development, LLC (collectively,

      “CHG”).

             These disclosures are based on information reasonably available to VGT, and VGT

      reserves the right to supplement as additional information becomes available through additional

      fact investigation and discovery.

      I.     Identification of Individuals

             The persons listed below may have discoverable information that VGT may use to

      support its claims. VGT reserves the right to remove from this list any person should it learn that

      the information known by such person is not discoverable and to object to discovery of

      information from these persons on any ground. All persons listed below, and all employees of

      VGT regardless of whether listed below, should be contacted only through counsel of record for
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   VGT; VGT does not consent to or authorize communication with any of its current or former

   employees prohibited by applicable rules of professional conduct.

           Individual                 Address                              Subject
   1.   Jon Cossin          c/o Covington & Burling LLP      Design and development of VGT
                                                             products, including software and
                                                             game play
   2.   Josh Davis          c/o Covington & Burling LLP      Design and development of VGT
                                                             products, including software and
                                                             game play; departure of VGT
                                                             employees to CHG
   3.   Betsy Dickinson     c/o Covington & Burling LLP      Marketing and advertising of VGT
                                                             products
   4.   Craig Eubanks       c/o Covington & Burling LLP      Instances of actual confusion
                                                             between VGT products and CHG
                                                             products
   5.   Will Harvie         c/o Covington & Burling LLP      Design and development of VGT
                                                             products, including software and
                                                             game play; VGT products in
                                                             comparison to other products in the
                                                             marketplace, including CHG
                                                             products; departure of VGT
                                                             employees to CHG
   6.   David Marsh         c/o Covington & Burling LLP      Design and development of VGT
                                                             products, including the game
                                                             themes, sounds and artwork;
                                                             departure of VGT employees to
                                                             CHG
   7.   Butch McGill        c/o Covington & Burling LLP      Design and development of VGT
                                                             products, including VGT’s cabinet,
                                                             sounds, and red screens; departure
                                                             of VGT employees to CHG
   8.   Ryan North          c/o Covington & Burling LLP      VGT products in comparison to
                                                             other products in the marketplace,
                                                             including CHG products; design
                                                             and development of VGT products;
                                                             performance of VGT products;
                                                             departure of VGT employees to
                                                             CHG
   9.   James Starr         c/o Covington & Burling LLP      Sales, placement, and performance
                                                             of VGT products; VGT products in
                                                             comparison to other products in the
                                                             marketplace, including CHG
                                                             products; departure of VGT
                                                             employees to CHG


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   10. Person(s) with         c/o Covington & Burling LLP       VGT’s financial performance,
       knowledge of                                             including sales figures and
       VGT financial                                            projections
       information


          In addition to the foregoing, VGT reserves the right to rely on all persons and entities

   listed in CHG’s initial disclosures, noticed for deposition, or identified in pleadings,

   interrogatory responses, or other discovery responses. In particular, VGT expects to identify

   current and former CHG employees knowledgeable about (a) design, development, marketing,

   and sales of CHG’s infringing games, (b) misappropriation of VGT trade secrets, and (c) design,

   development, marketing, and sales of VGT’s games.

   II.    Identification of Documents

          The documents, ESI, and other tangible things that VGT may use to support its defenses

   are at the offices of VGT or its counsel, are believed to be in the possession or control of CHG or

   third parties, or are available from public sources such as the records of the U.S. Patent and

   Trademark Office. VGT identifies the following categories of documents solely to comply with

   Federal Rule of Civil Procedure 26(a)(1)(A)(ii) and does not waive its right to object to

   production or use of any document, item of ESI, or tangible thing disclosed herein on the basis of

   privilege, work product immunity, relevance, materiality, undue burden, hearsay, or any other

   valid objection, or to identify and use documents from additional categories should VGT learn

   that such categories encompass relevant documents.

                      1. Documents relating to VGT’s trademarks and trade dress.

                      2. Documents relating to the advertising, marketing, promotion, and sale of
                         VGT products.

                      3. Documents relating to the goodwill and public recognition associated with
                         VGT’s trademarks and trade dress.




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                      4. Documents relating to the design, development and operation of VGT
                         products.

                      5. Documents concerning employment or confidentiality relationships
                         between VGT and its former employees.

                      6. Documents concerning damages incurred by VGT.


   III.   Computation of Damages

          VGT intends to seek at least (a) actual damages suffered by VGT as a result of CHG’s

   trademark infringement, trade dress infringement, misappropriation of VGT’s trade secrets, and

   misappropriation of VGT’s confidential business information; (b) disgorgement of CHG’s profits

   derived from its trademark infringement, trade dress infringement, misappropriation of VGT’s

   trade secrets, and misappropriation of VGT’s confidential business information; and (c)

   increased damages or profits and/or punitive damages. VGT’s computation of damages will

   depend on factors including CHG’s revenue from the accused games, VGT’s revenue lost as a

   result of CHG’s infringement, and other harm caused by CHG’s unlawful actions. VGT also

   intends to seek an award of its reasonable attorney fees and costs of suit.

   IV.    Insurance Agreements

          VGT is unaware of any insurance agreement relevant to this action.


   October 6, 2017                               Respectfully submitted,

                                                 /s/ Gary Rubman
                                                 Graydon Dean Luthey, Jr., OBA No. 5568
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                                    CERTIFICATE OF SERVICE

          I hereby certify that on October 6, 2017, I sent via email, a true and correct copy of the

   foregoing Video Gaming Technologies, Inc.’s Rule 26(A)(1) Initial Disclosures to Castle Hill

   Studios LLC, Castle Hill Holdings LLC, and Ironworks Development LLC, addressed to the

   following:

   James C. Hodges, OBA 4254
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   Attorneys for Defendants Castle Hill
   Studios LLC, Castle Hill Holdings LLC,
   and Ironworks Development LLC




                                                                /s/ Gary Rubman




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